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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ALIBABA GROUP HOLDING LIMITED,

                      Plaintiff,
                                                     Case No.
               -against-
                                                     JURY TRIAL DEMANDED
ALIBABACOIN FOUNDATION a/k/a
ABBC FOUNDATION, ABBC BLOCK
CHAIN IT SOLUTIONS LLC,
ALIBABACOIN GENERAL TRADING
FZE, ALIBABACOIN FOUNDATION LLC,
JASON DANIEL PAUL PHILIP, HASAN
ABBAS,

                      Defendants.



                                         COMPLAINT

       Plaintiff Alibaba Group Holding Limited, (“Alibaba Group Holding” or “Plaintiff”) states

the following for its Complaint against Defendants ALIBABACOIN Foundation a/k/a ABBC

Foundation (“ABBC”), ABBC Block Chain IT Solutions LLC, Alibabacoin General Trading FZE,

Alibabacoin Foundation LLC, Jason Daniel Paul Philip, and Hasan Abbas (collectively,

“Defendants”).

                                      INTRODUCTION

       This action arises from Defendants’ unlawful scheme to misappropriate Plaintiff’s

renowned brand name in order to deceive investors in the U.S. and around the world. With a

single-minded focus to capitalize on Plaintiff’s reputation for success, Defendants constructed a

ploy to use Plaintiff’s trademarked name “ALIBABA” to raise over $3,500,000 in Defendants’

cryptoassets (so-called “AlibabaCoins” or “ABBC Coins”) from investors through Initial Coin

Offerings (“ICOs”) that are neither registered nor approved by U.S. regulators.
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       Alibaba Group Holding owns numerous trademarks registered with the United States

Patent and Trademark Office (the “USPTO”) for the term “ALIBABA” and for other related terms.

In addition, Alibaba Group Holding owns common law rights to these marks through their

extensive and continuous use in New York and other States in the United States. Alibaba Group

Holding and its operating subsidiaries (the “Alibaba Group companies,” collectively “Alibaba”)

have spent many years, and substantial resources, building public confidence and consumer

goodwill in these marks. As a result of these efforts, Alibaba Group Holding has become one of

the most renowned and successful businesses in the world.

       Defendants have elected to attempt a less laborious path to success. Rather than build

independent value in their brand and the products and services they offer, Defendants have

engaged in a willful and concerted campaign to cause the public to believe falsely that Alibaba is

the source of Defendants’ products and services, or that such products and services are endorsed

or sponsored by, or otherwise associated or affiliated with, Alibaba. Defendants prominently

feature trademarks owned by Alibaba Group Holding, in whole and without alteration, in countless

instances in materials they make publicly available on the internet, including in offering materials

that solicit investment from investors in the U.S. and elsewhere. And, lest there be any doubt in

consumers’ minds as to whether Defendants are associated with Alibaba Group Holding, those

same materials brazenly and explicitly assert that is the case.

       There is already actual confusion as to whether Alibaba is the source of Defendants’

services and products, or whether such services and products are endorsed or sponsored by, or

otherwise associated or affiliated with, Alibaba. Indeed, some news outlets have already begun

reporting that Plaintiff and Defendants are affiliated, and others have speculated whether that is

the case. Unless Defendants are enjoined from continuing their intentionally misleading use of




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Alibaba Groups Holding’s trademarks, they will continue to capitalize unfairly on the goodwill

inherent in those marks, deceiving the public and impairing and diluting the value of those marks.

                                     NATURE OF ACTION

       1.       This is an action at law and in equity for trademark infringement, false designation

of origin, false advertising, dilution, and related wrongs. Alibaba Group Holding’s claims against

Defendants arise under the Trademark Act of 1946, 15 U.S.C. §§ 1051 et seq. (the “Lanham Act”),

the common law of New York, and New York General Business Law § 360-l.

                                         THE PARTIES

       2.       Alibaba Group Holding is a Cayman Islands company with its principal place of

business in Hangzhou, People’s Republic of China.

       3.       Upon information and belief, Defendant ALIBABACOIN Foundation is a

commercial organization based in Dubai, U.A.E., with offices in Dubai and Minsk, Belarus. Upon

information and belief, ALIBABACOIN Foundation is also known as AlibabaCoin Foundation,

Alibabacoin Foundation, and ABBC Foundation.

       4.       Upon information and belief, Defendants ABBC Block Chain IT Solutions LLC,

and Alibabacoin General Trading FZE are business segments and/or subsidiaries of ABBC with

offices in Dubai, U.A.E.

       5.       Upon information and belief, Defendant Alibabacoin Foundation LLC is a

subsidiary or affiliate of ABBC with offices in Minsk, Belarus.

       6.       Upon information and belief, Defendant Jason Daniel Paul Philip is a Malaysian

national residing in Dubai, U.A.E., and is the Founder and Chief Executive Officer of ABBC.

       7.       Upon information and belief, Defendant Hassan Abbas is an individual residing in

Dubai, U.A.E., and is the co-founder and Chief Technical Officer of ABBC.




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                                 JURISDICTION AND VENUE

       8.       This Court has subject matter jurisdiction over the federal claims for trademark

infringement, false designation of origin, false advertising, dilution, and related wrongs under 28

U.S.C. §§ 1331, 1338(a). This Court has subject matter jurisdiction over the state claims under 28

U.S.C. § 1367(a).

       9.       This Court has personal jurisdiction over the Defendants because Defendants are

specifically targeting their products and services to, and soliciting investment from, consumers in

New York and, more generally, the United States. ABBC’s CEO prominently states on the ABBC

Website that: “[AlibabaCoin’s] Blockchain technology will be the world’s leading software

platform for digital assets . . . We are planning to distribute this service to over 81 countries

and allow an abundant supply of our solutions. We are truly going to become the leading

blockchain specialists.” (emphases added). A true and correct copy of the Defendants’ website is

attached hereto as Exhibit 1. Defendants’ advertising and offering materials state the anticipated

value of the ABBC Coin in U.S. dollars. Further, Defendants’ advertising materials explicitly note

that they will make Defendants’ cryptocurrency available on U.S.-based crypto-asset trading

platforms (also known as “cryptocurrency exchanges”), including Gemini (based in New York),

itBit (based in New York), Coinbase, Poloniex and Bittrex. ABBC White Paper, at 72, 80. A true

and correct copy of ABBC’s White Paper is attached hereto as Exhibit 2. Upon information and

belief, Defendants’ representatives and/or employees have directly targeted U.S. investors by

offering to sell ABBC Coins and/or soliciting investment in Defendants’ ICOs.

       10.      Venue is proper in this District under 28 U.S.C. § 1391(b) & (c).




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                                  FACTUAL BACKGROUND

 I.	Alibaba Group Holding’s Trademarks

       11.     Alibaba Group Holding is the owner of United States Trademark Reg. No.

2,589,009 which covers the mark “ALIBABA.COM” for use in, among other things “BUSINESS

SERVICES, NAMELY FACILITATING THE TRANSACTION OF BUSINESS VIA LOCAL

AND GLOBAL COMPUTER NETWORKS . . . .” A true and correct copy of Reg. No. 2,589,009

is attached hereto as Exhibit 3. The mark was registered July 2, 2002, and has been in continuous

use since that date. It is therefore incontestable pursuant to 15 U.S.C. § 1065, which means that it

is “conclusive evidence of the validity of the registered mark and of the registration of the mark,

of [Alibaba Group Holding’s] ownership of the mark, and of [Alibaba Group Holding’s] exclusive

right to use the registered mark in commerce.” See 15 U.S.C. § 1115(b).

       12.     Alibaba Group Holding is the owner of United States Trademark Reg. No.

2,829,317, which covers the mark “ALIBABA” for use in computer software, including “for use

in exchanging information via global computer networks and online from a computer database and

the Internet.” A true and correct copy of Reg. No. 2,829,317 is attached hereto as Exhibit 4. The

mark was registered April 6, 2004, and has been in continuous use since that date. It is therefore

incontestable pursuant to 15 U.S.C. § 1065, which means that it is “conclusive evidence of the

validity of the registered mark and of the registration of the mark, of [Alibaba Group Holding’s]

ownership of the mark, and of [Alibaba Group Holding’s] exclusive right to use the registered

mark in commerce.” See 15 U.S.C. § 1115(b).

       13.     Alibaba Group Holding is the owner of United States Trademark Reg. No.

2,851,634, which covers the mark “ALIBABA” for use in “computer services, namely, software

design and development for others.” A true and correct copy of Reg. No. 2,851,634 is attached
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hereto as Exhibit 5. The mark was registered June 8, 2004, and has been in continuous use since

that date. It is therefore incontestable pursuant to 15 U.S.C. § 1065, which means that it is

“conclusive evidence of the validity of the registered mark and of the registration of the mark, of

[Alibaba Group Holding’s] ownership of the mark, and of [Alibaba Group Holding’s] exclusive

right to use the registered mark in commerce.” See 15 U.S.C. § 1115(b).

       14.     Alibaba Group Holding is the owner of United States Trademark Reg. No.

2,579,498, which covers the mark “ALIBABA” for use in, among other things “[m]arket research

and business consulting services” and “[p]roviding an interactive web site on a global computer

network for third parties to post information, respond to requests and place and fulfill orders for

products, services and business opportunities.” A true and correct copy of Reg. No. 2,579,498 is

attached hereto as Exhibit 6. The mark was registered June 11, 2002, and has been in continuous

use since that date. It is therefore incontestable pursuant to 15 U.S.C. § 1065, which means that it

is “conclusive evidence of the validity of the registered mark and of the registration of the mark,

of [Alibaba Group Holding’s] ownership of the mark, and of [Alibaba Group Holding’s] exclusive

right to use the registered mark in commerce.” See 15 U.S.C. § 1115(b).

       15.     Alibaba Group Holding is the owner of United States Trademark Reg. No.

4,820,371, which covers the mark “ALIBABA” for use in media materials, insurance services,

transportation services, and education. A true and correct copy of Reg. No. 4,820,371 is attached

hereto as Exhibit 7. The mark was registered September 29, 2015.

       16.     Alibaba Group Holding is the owner of United States Trademark Reg. No.

2,809,993, which covers the mark:




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for use in connection with computer software. A true and correct copy of Reg. No. 2,809,993 is

attached hereto as Exhibit 8. The mark was registered February 3, 2004, and has been in

continuous use since that date. It is therefore incontestable pursuant to 15 U.S.C. § 1065, which

means that it is “conclusive evidence of the validity of the registered mark and of the registration

of the mark, of [Alibaba Group Holding’s] ownership of the mark, and of [Alibaba Group

Holding’s] exclusive right to use the registered mark in commerce.” See 15 U.S.C. § 1115(b).

       17.     Alibaba Group Holding is the owner of United States Trademark Reg. No.

2,851,633, which covers the mark:




for use in computer services, “namely, software design and development for others.” A true and

correct copy of Reg. No. 2,851,633 is attached hereto as Exhibit 9. The mark was registered

June 8, 2004, and has been in continuous use since that date. It is therefore incontestable

pursuant to 15 U.S.C. § 1065, which means that it is “conclusive evidence of the validity of the

registered mark and of the registration of the mark, of [Alibaba Group Holding’s] ownership of

the mark, and of [Alibaba Group Holding’s] exclusive right to use the registered mark in

commerce.” See 15 U.S.C. § 1115(b).

       18.     Alibaba Group Holding is the owner of United States Trademark Reg. No.

4,363,019, which covers the mark:




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for use in media materials, insurance services, transportation services, and education. A true and

correct copy of Reg. No. 4,363,019 is attached hereto as Exhibit 10. The mark was registered July

9, 2013.

       19.     Alibaba Group Holding is the owner of United States Trademark Reg. No.

4,843,756, which covers the mark:




for use in, among other things “[s]cientific and technological services, namely, research and design

in the fields of telecommunications software and hardware design, Internet technology.” A true

and correct copy of Reg. No. 4,843,756 is attached hereto as Exhibit 11. The mark was registered

November 3, 2015.

       20.     Alibaba Group Holding is the owner of United States Trademark Reg. No.

4,737,751, which covers the mark:




for use in, among other things “[s]cientific and technological services, namely, research and

design in the fields of telecommunications software and hardware design, Internet technology.”

A true and correct copy of Reg. No. 4,737,751 is attached hereto as Exhibit 12. The mark was

registered May 19, 2015.

       21.     Alibaba Group Holding owns common law rights to the trademarks set out in

Paragraphs 11-20 through the extensive and continuous use by the Alibaba Group companies of



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those marks in New York and other States in the United States (the “Common Law Marks,” and

together with the registered trademarks set out in Paragraphs 11-20, the “ALIBABA Marks”).

       22.    Based on the extensive use of the ALIBABA Marks in connection with the many

businesses of the Alibaba Group companies, the ALIBABA Marks have taken on secondary

meaning among consumers as marks unique to and associated with Alibaba Group Holding and

the Alibaba Websites.

       23.    Alibaba Group Holding also owns trademarks for variations on the “ALIBABA”

name, including:

              a. United States Trademark Reg. No. 4,033,067 for the mark “ALI-ADVANCE.”

                   A true and correct copy of Reg. No. 4,033,067 is attached hereto as Exhibit 13.

                   The mark was registered October 4, 2011, and has been in continuous use since

                   that date. It is therefore incontestable pursuant to 15 U.S.C. § 1065, which

                   means that it is “conclusive evidence of the validity of the registered mark and

                   of the registration of the mark, of [Alibaba Group Holding’s] ownership of the

                   mark, and of [Alibaba Group Holding’s] exclusive right to use the registered

                   mark in commerce.” See 15 U.S.C. § 1115(b).

              b. United States Trademark Reg. No. 4,263,119 for the mark “ALIPROTECT.”

                   A true and correct copy of Reg. No. 4,263,119 is attached hereto as Exhibit 14.

                   The mark was registered December 25, 2012, and has been in continuous use

                   since that date. It is therefore incontestable pursuant to 15 U.S.C. § 1065, which

                   means that it is “conclusive evidence of the validity of the registered mark and

                   of the registration of the mark, of [Alibaba Group Holding’s] ownership of the




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                 mark, and of [Alibaba Group Holding’s] exclusive right to use the registered

                 mark in commerce.” See 15 U.S.C. § 1115(b).

             c. United States Trademark Reg. No. 4,130,144 for the mark “ALICLOUD.” A

                 true and correct copy of Reg. No. 4,130,144 is attached hereto as Exhibit 15.

                 The mark was registered April 24, 2012, and has been in continuous use since

                 that date. It is therefore incontestable pursuant to 15 U.S.C. § 1065, which

                 means that it is “conclusive evidence of the validity of the registered mark and

                 of the registration of the mark, of [Alibaba Group Holding’s] ownership of the

                 mark, and of [Alibaba Group Holding’s] exclusive right to use the registered

                 mark in commerce.” See 15 U.S.C. § 1115(b).

             d. United States Trademark Reg. No. 4,626,611 for the mark “ALIEXPRESS.” A

                 true and correct copy of Reg. No. 4,626,611 is attached hereto as Exhibit 16.

                 The mark was registered October 28, 2014.

      24.	Alibaba Group Holding has also applied to register trademarks for additional

variations on the “ALIBABA” name, including:

             a. “ALIBABA MIND SPORTS,” a true and correct copy of the application for

                 which is attached hereto as Exhibit 17.

             b. “ALISPORTS,” a true and correct copy of the application for which is attached

                 hereto as Exhibit 18.

             c. “ALIBABA TRADE MANAGER,” a true and correct copy of the application

                 for which is attached hereto as Exhibit 19.

             d. The mark:




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               a true and correct copy of the application for which is attached hereto as Exhibit

                    20.

               e. The mark:




               a true and correct copy of the application for which is attached hereto as Exhibit

                    21.

       25.     Alibaba's trademark rights are recognized worldwide. In addition to the United

States, Alibaba Group Holding owns hundreds of registered trademarks for the term “ALIBABA”

around the world.

       26.     Alibaba Group Holding is the owner of trademarks for the term “ALIBABA” in the

European Union: Registration Nos. 004534319 (NCL 9, 35 (Advertising; business management;

business administration; office functions), 38, 42 (Scientific and technological services and

research and design relating thereto; industrial analysis and research services; design and

development of computer hardware and software)); 009887787 (NCL 16, 35 (Advertising;

business management; business administration; office functions), 36 (Insurance; financial affairs;

monetary affairs; real estate affairs), 39, 41, 42 (Scientific and technological services and research

and design relating thereto; industrial analysis and research services; design and development of

computer hardware and software)).

       27.     Alibaba Group Holding is the owner of at least four trademarks for the term

“ALIBABA” in the United Arab Emirates: Registration Nos. 72351 (NCL 35 (Advertising;




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business management; business administration; office functions)); 072353 (NCL 42 (Scientific

and technological services and research and design relating thereto; industrial analysis and

research services; design and development of computer hardware and software)); 87225 (NCL 38);

156730 (NCL 41).

        28.       Alibaba Group Holding is the owner of numerous trademarks for the term

“ALIBABA” throughout the Middle East. E.g. Egypt (Registration Nos. 180856, 260113, 180857,

260114, 260115), Iran (Registration Nos. 137641, 190020725), and Saudi Arabia (Registration

Nos. 143205704, 142605588, 142605589, 1469/18, 142605590, 142605591).

II.	Defendants’ Infringing Uses Of The ALIBABA Marks

        29.       ABBC’s website is located at the URL https://www.abbcfoundation.com/ (the

“ABBC Website”). The ABBC Website domain name is registered with GoDaddy.com LLC, a

Delaware-incorporated limited liability company based in Scottsdale, Arizona. A true and correct

copy of the registrar data for the ABBC Website is attached hereto as Exhibit 22.

        30.       Per the ABBC Website, “ABBC is a technology optimized for distribution, finance,

shopping, security, using blockchain technology.” Ex. 1. Per ABBC’s marketing materials, this

“blockchain technology” is purportedly still in development. Id. ABBC’s White Paper also states

that ABBC’s “[e]cosystem” is also “an . . . e-learning platform” Ex. 2, at 13. Defendants have

declared that they plan to someday become “the world’s leading software platform for digital

assets.” Ex. 1.

        31.       Purportedly to finance the development of their products and services, Defendants

have launched at least three initial coin offerings (“ICOs"). An ICO is a financing method used

by companies and individuals to raise capital for their businesses and projects. Attached hereto as

Exhibit 23 is a true and correct copy of a statement from Jay Clatyton, chairman of the Securities




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Exchange Commission (“SEC”), wherein Mr. Clatyton states that, “[t]ypically these offerings

[(ICOs)] involve the opportunity for individual investors to exchange currency such as U.S. dollars

or cryptocurrencies in return for a digital asset labeled as a coin or token.” These virtual “coins”

or “tokens” are created and disseminated using distributed ledger technology, also known as a

blockchain. Attached hereto as Exhibit 24 is a true and correct copy of a bulletin from the SEC

concerning ICOs, which notes that a company or individual using such ICOs (“ICO Promoters”)

may “tell purchasers that the capital raised from [the ICO] will be used to fund development of a

digital platform, software, or other projects and that the virtual tokens or coins may be used to

access the platform, use the software, or otherwise participate in the project.” Id. ICO Promoters

“may lead [investors in the ICO] to expect a return on their investment or to participate in a share

of the returns provided by the project.” Id. Once the virtual coins or tokens are issued, “they may

be resold to other individuals in a secondary market on virtual currency exchanges or other

platforms.” Id. In light of the potential risks of fraud and manipulation, the SEC and the U.S.

Commodities Futures Trading Commission (“CFTC”) have issued warnings about the risks of

investing in ICOs and cryptocurrencies generally. See, e.g., SEC Release 7678-18 (CFTC Charges

Randall Crater, Mark Gillespie, and My Big Coin Pay, Inc. with Fraud and Misappropriation in

Ongoing Virtual Currency Scam), a true and correct copy of which is attached hereto as Exhibit

25; SEC Customer Advisory: Understand the Risks of Virtual Currency Trading, a true and correct

copy of which is attached hereto as Exhibit 26.

       32.	Per ABBC’s ICO Calendar, a true and correct copy of which is attached hereto as

Exhibit 27, Defendants have completed two rounds of funding through such “ICOs”, and are

currently running a third one to be completed by July 3, 2018 which is expected to raise over

$3,5000,000. During these ICOs, Defendants have represented that the Alibaba Coin value—




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initially $2—will “soar gradually” and will reach $50 in August 2018, and $150 in 2019, or a

2425% and 7475% return on investment, respectively. Ex. 2, at 72; https://www.facebook.com/

Alibabacoinfoundation/posts/166819453943866.1 Further, Defendants have represented that

ABBC will reach a market capitalization of “USD 140 billion” by the end of 2019. Ex. 2, at 72.

Per the ABBC Website, “[a]nyone” can invest in the ICO. Ex. 1.

        33.     As soon as one visits the ABBC Website, the trademarked term “ALIBABA,” in

whole and without alteration, is the first thing that prominently appears, in the name

“ALIBABACOIN:”




        34.     “ALIBABA” also appears (with a space between “ALIBABA” and “COIN”) in

Defendants’ logo, which is featured prominently on the ABBC Website:




        35.     “ALIBABA” also appears on the ABBC Website in the name of one of the

technologies purportedly being offered thereon:




1
    A true and correct copy of the webpage located at this URL is attached hereto as Exhibit 28.



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         36.    “ALIBABA” appears in numerous additional contexts on the ABBC Website. See

Ex. 1.

         37.    At the URL https://alibabacoinwallet.com/,2 which is registered to Defendants

Philip and ABBC, “ALIBABA” appears alone, in full, and without any alteration:




         38.    “ALIBABA” also appears in the URL http://alibabacoinfoundation.com, which is

registered to Defendants Philip and ABBC, and which links to the ABBC Website.

         39.    “ALIBABA” appears in numerous instances in the page for the “AlibabaCoin

Wallet,” a phone application being offered through Google. The application can be obtained at

https://play.google.com/store/apps/details?id=com.abbccoin.abbc. A true and correct copy of the

webpage located at that URL is attached hereto as Exhibit 30.




2
    A true and correct copy of the webpage located at this URL is attached hereto as Exhibit 29.



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       40.    The “AlibabaCoin Foundation Wallet” can also be obtained through the Apple App

Store	                  at	               https://itunes.apple.com/ph/app/alibabacoin-foundation-

wallet/id1348206686?mt=8https://itunes.apple.com/ph/app/alibabacoin-foundation-

wallet/id1348206686. A true and correct copy of the webpage located at that URL is attached

hereto as Exhibit 31.

       41.    “ALIBABA” also appears prominently on various social media channels for

ABBC, and at times, in the URLs for those channels, including:

                  a. https://www.facebook.com/Alibabacoinfoundation/. A true and correct

                        copy of Defendants’ Facebook page is attached hereto as Exhibit 32.



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                   b. https://twitter.com/abbcfoundation/.	A true and correct copy of

                       Defendants’ Twitter page is attached hereto as Exhibit 33.

                   c. https://www.youtube.com/channel/UCI2neUIAxnyc0F5dqK5OWvw. A

                       true and correct copy of Defendants’ YouTube channel is attached hereto

                       as Exhibit 33.

III.	Defendants’ Efforts To Mislead Consumers

       42.     The ABBC White Paper, which is publicly available on the ABBC Website (in

English, Chinese, and Arabic), prominently displays the ALIBABA logo and the Alibaba.com

trademark, and blatantly asserts that ABBC is affiliated with Alibaba Group Holding:

“Alibaba.com enable [sic] businesses to transform the way they market, sell and operate . . .

Through our subsidiary Cainiao Network and investee affiliate Koubei, respectively, the systemt

[sic] participate in the logistics and local services sectors.” Ex. 2, at 68 (emphasis added):




       43.     The White Paper furthers the likelihood of consumer confusion by noting that the

cryptocurrency Defendants are offering is known as both “AlibabaCoin” and also as “Alibaba

Coin.” Ex. 2, at 43. The space between Alibaba Group Holding's trademark “Alibaba” and the



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word “Coin” further reduces the already low probability that consumers might believe the product

is not associated with Alibaba Group Holding.

       44.    ABBC’s Facebook page includes an image that calls deliberate attention to the

ALIBABA Marks contained therein, to the exclusion of the marks of other online retailers:




       45.    In an “interview” with Defendant Philip dated February 22, 2018 (a true and correct

copy of which is attached hereto as Exhibit 35), Mr. Philip publicly refused to refute the

Defendants’ association with Alibaba, and then stated that they would be "run[ning]" online-

shopping platforms that would accept their crypto-currency—thus further associating themselves

with Alibaba's core businesses:

       “Q: Is your coin connected or related to the Alibaba of China?

       [Jason Daniel Paul Philip, founder of ABBC]: ... I cannot tell you anything about
       this for now, but one thing for sure is that our solution will be used in many online
       platforms that require asset securement of crypto-currencies. We are planning to
       run online-shopping platforms as well as a crypto exchange platform as well
       [sic].”

(at 3) (emphases added).




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       46.     Upon information and belief, Defendants have published or caused the publication

of articles online about ABBC that contain ALIBABA Marks, including images of Alibaba’s

headquarters prominently displaying Alibaba’s name as well as images of Alibaba’s co-founder,

Mr. Jack Ma. True and correct copies of those webpages and corresponding translations are

attached hereto as Exhibit 36-38.

IV.	Actual Confusion Has Already Occurred

       47.     Defendants’ prominent, repeated, and intentionally misleading uses of the

ALIBABA Marks are designed to cause consumers to believe erroneously that Alibaba Group

Holding is the source of ABBC’s services and products, or that such services and products are

endorsed by, sponsored by, or otherwise associated or affiliated with Alibaba Group Holding.

       48.     News outlets have already begun asking whether that is the case, evidencing that

actual confusion is already occurring. See, e.g., “AlibabaCoin, Revealed To The World Of

Crypto”, Digital Journal, January 30, 2018, available at http://www.digitaljournal.com/pr/3639605

(“Is this new AlibabaCoin made by the great Chinese Alibaba?”). A true and correct copy of the

article is attached hereto as Exhibit 39.

       49.     The confusion has also spread throughout the financial and technology press, where

reporters have confused ABBC’s crypto coin with Alibaba. See e.g. Oindrila Banerjee,

“AlibabaCoin (ABBC) Foundation working on making cryptocurrency user friendly”,

TechGenYZ,	February	22,	2018,	available	at

https://www.techgenyz.com/2018/02/22/alibabacoin-abbc-foundation-cryptocurrency/ (“As of

now, [ABBC] is recruiting funds to attract new developers, new personnel, and build a bigger

platform. The Alibaba Coin ICO shall remain open until the first quarter of the year. Alibaba’s

decentralized Blockchain-based coins in X13 format can be mined using POW and POS mining




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structures. They have already published 1.5 billion coins and intends to distribute 500 million

coins each via pre-sales and ICO.”) (emphases added). A true and correct copy of the article is

attached hereto as Exhibit 40.

       50.     Defendants have done nothing to combat or correct this confusion, and indeed,

appear to have stoked it whenever possible, even using the terms “ABBC” and “Alibaba”

interchangeably. See, e.g., “AlibabaCoin ICO (ABBC Coin): Legit Blockchain Crypto Coin?”,

BitcoinExchangeGuide,	March	26,	2018,	available	at

https://bitcoinexchangeguide.com/alibabacoin-abbc-ico/ (“Alibabacoin, or ABBC, is

a cryptocurrency business approach by the global retailer and wholesaler Alibaba. It describes

its new technology as optimized for finance, distribution, shopping, and security using

the blockchain technology. According to the CEO, Alibaba sees a better and more secure

future with valuable blockchain solutions, hence AlibabaCoin. The blockchain platform that

AlibabaCoin is built on promises to be the one blockchain technology that will emerge as the

leading platform for digital assets in the world.”). A true and correct copy of the article is attached

hereto as Exhibit 41.

       51.     ABBC has publicly indicated that it plans to move into e-commerce, by launching

“an online shopping website where people can use not only Alibabacoin but other cryptocoins as

well.” “Alibaba’s Public ICO Brings an Explosive Response”, CryptoNews, March 21, 2018,

available at https://www.crypto-news.net/alibabacoins-public-ico-brings-an-explosive-reponse/

(emphasis added); see also https://www.abbcfoundation.com/ (“Alibabacoin Foundation is

currently preparing an online shopping and a crypto exchange business that will combine all

platforms and enable them to use a more facilitated payment structure and a more safe method to

keep and distribute cryptos.”) (emphasis added). A true and correct copy of the CryptoNews




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article is attached hereto as Exhibit 42. Given that e-commerce is the core business of the Alibaba

Websites, and the primary (though not the only) business associated with the ALIBABA Marks,

this raises the likelihood of consumer confusion exponentially.

V.	Alibaba Group Holding Has Suffered And Will Continue To Suffer Harm

       52.     Defendants’ activities with respect to the ALIBABA Marks have resulted in, are

resulting in, and will continue to result in harm to Alibaba Group Holding, including without

limitation damage to Alibaba Group Holding’s reputation and goodwill symbolized by the

ALIBABA Marks, as well as monetary losses and damage.

       53.     Earlier this year, reports circulated that Alibaba Group Holding was planning to

launch its own cryptocurrency. See, e.g., Josiah Wilmoth, “China’s Alibaba Quietly Launches

Cryptocurrency Mining Platform: Unconfirmed Local Report”, CCN, January 16, 2018, available

at https://www.ccn.com/alibaba-quietly-launches-cryptocurrency-mining-platform-unconfirmed-

local-report/ (“Chinese e-commerce and tech conglomerate Alibaba has quietly launched a

cryptocurrency mining platform, according to an unconfirmed local media report”). A true and

correct copy of the article is attached hereto as Exhibit 43.

       54.     Alibaba has repeatedly stated that it is not interested in moving into the

cryptocurrency space. See e.g., Wolfie Zhao, “Alibaba Payment Affiliate Rules Out ICO

Fundraising”, Coindesk, March 26, 2018, available at https://www.coindesk.com/alibabas-

payment-affiliate-rules-out-prospect-of-ico/ (“Ant Financial Services Group, Alibaba’s payment

affiliate and operator of AliPay, has taken a critical stance over initial coin offerings (ICOs).”) (A

true and correct copy of the article is attached hereto as Exhibit 44); James Levenson, “Alibaba

Dispels Cryptocurrency Platform Rumors, Bitcoinist, January 18, 2018, available at

http://bitcoinist.com/alibaba-opens-crypto/ (“NO ALIBABA COIN: Alibaba chief Jack Ma has




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been standoffish towards the crypto space, stating that the world was not ready for it last year.”)

(A true and correct copy of the article is attached hereto as Exhibit 45).

        55.     But on the exact same day the earlier of these reports was released, January 18,

2018, Defendants Philip and ABBC began registering infringing web domain names—including

alibabacoinfoundation.com and aliababcoinwallet.com—using the very term that appeared in the

press report on Plaintiff’s views on crypotcurrencies: ALIBABACOIN. Defendants have

registered these domain names with GoDaddy.com LLC, a Delaware-incorporated limited liability

company based in Scottsdale, Arizona. See Ex. 22.

        56.     Defendants’ statements and actions are designed to make consumers believe that

Alibaba is the source of ABBC’s products and services, or that such products and services are

endorsed or sponsored by, or otherwise associated or affiliated with, Alibaba, even though Alibaba

has repeatedly and publicly asserted it will not enter the cryptocurrency space at this time.

        57.     If any problems occur with Defendants or with any of the products or services they

provide (or intend to provide), consumers would associate those problems with the ALIBABA

Marks and, by extension, with Alibaba Group Holding, thus harming the goodwill that Alibaba

has developed in the ALIBABA Marks and damaging Alibaba Group Holding.

        58.     Further, Defendants’ unauthorized use of the ALIBABA Marks is likely to impair

and damage the distinctiveness of the ALIBABA Marks by causing the public to no longer

associate the ALIBABA Marks exclusively with Alibaba Group Holding.

                                 FIRST CAUSE OF ACTION
                 Federal Trademark Infringement In Violation Of 15 U.S.C. § 1114
                                    (Against All Defendants)

        59.     Alibaba Group Holding repeats and realleges each of the foregoing paragraphs as

if fully set forth herein.




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       60.     Alibaba Group Holding owns the ALIBABA Marks, including incontestable

federal trademarks. See Exs. 3-16.

       61.     Defendants have both actual and constructive knowledge of the ALIBABA Marks.

       62.     Defendants have used, are using, and have caused others to use the ALIBABA

Marks, and marks confusingly similar thereto, in connection with the advertising, promotion, and

sale of their products and services without Alibaba Group Holding’s authorization.

       63.     These uses of the ALIBABA Marks have caused and are likely to cause confusion,

mistake, and deception as to the affiliation, connection, or association with, or sponsorship or

approval by, Alibaba, in violation of 15 U.S.C. § 1114.

       64.     Defendants’ unlawful conduct was and is knowing, deliberate, willful, and in bad

faith, and done with the intent to trade on the goodwill and reputation of Alibaba and the

ALIBABA Marks, and to deceive consumers into believing that Alibaba is the source of

Defendants’ products and services, or that such products and services are endorsed by, sponsored

by, or otherwise associated or affiliated with Alibaba.

       65.     As a result of Defendants’ unlawful conduct, Alibaba Group Holding has suffered

and is likely to continue to suffer damages, and Defendants have obtained profits and/or unjust

enrichment.

       66.     Defendants’ unlawful conduct has caused Alibaba Group Holding to lose control

over the goodwill it has established in the ALIBABA Marks and to irreparably injure Alibaba

Group Holding’s business, reputation, and goodwill. Unless Defendants are enjoined from their

unlawful conduct, Alibaba Group Holding will continue to suffer irreparable harm for which it has

no adequate remedy at law.




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                             SECOND CAUSE OF ACTION
   Federal Trademark Infringement, Unfair Competition, And False Designation Of Origin In
                              Violation Of 15 U.S.C. § 1125
                                 (Against All Defendants)

        67.     Alibaba Group Holding repeats and realleges each of the foregoing paragraphs as

if fully set forth herein.

        68.     Alibaba Group Holding owns the ALIBABA Marks.

        69.     Defendants have used, are using, and have caused others to use the ALIBABA

Marks in connection with the advertising, promotion, and sale of their products and services

without Alibaba Group Holding’s authorization.

        70.     These uses of the ALIBABA Marks have caused and are likely to cause confusion,

mistake, and deception as to the affiliation, connection, or association with, or sponsorship or

approval by, Alibaba, in violation of 15 U.S.C. § 1125.

        71.     Defendants’ unlawful conduct was and is knowing, deliberate, willful, and in bad

faith, and done with the intent to trade on the goodwill and reputation of Alibaba and the

ALIBABA Marks, and to deceive consumers into believing that Alibaba is the source of

Defendants’ products and services, or that such products and services are endorsed by, sponsored

by, or otherwise associated or affiliated with Alibaba.

        72.     As a result of Defendants’ unlawful conduct, Alibaba Group Holding has suffered

and is likely to continue to suffer damages, and Defendants have obtained profits and/or unjust

enrichment.

        73.     Defendants’ unlawful conduct has caused Alibaba Group Holding to lose control

over the goodwill it has established in the ALIBABA Marks and to irreparably injure Alibaba

Group Holding’s business, reputation, and goodwill. Unless Defendants are enjoined from their




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unlawful conduct, Alibaba Group Holding will continue to suffer irreparable harm for which it has

no adequate remedy at law.

                                  THIRD CAUSE OF ACTION
                    Federal False Advertising In Violation Of 15 U.S.C. § 1125
                                    (Against All Defendants)

        74.     Alibaba Group Holding repeats and realleges each of the foregoing paragraphs as

if fully set forth herein.

        75.     Defendants are distributing, have distributed, and caused others to distribute

materials that misrepresent that Defendants’ uses of the ALIBABA Marks are authorized, licensed,

or sponsored by Alibaba when in fact they are not.

        76.     Defendants’ false or misleading statements misrepresent the nature, characteristics,

and qualities of Defendants’ goods, services, or commercial activities, and have deceived and are

likely to deceive the public and the trade in violation of 15 U.S.C. § 1125.

        77.     Defendants’ unlawful conduct was and is knowing, willful, deliberate, and in bad

faith because Defendants knew at the time the statements were made that they were false or

misleading statements and made the statements in order to increase the sales of their products

and/or services, and the revenues from their ICOs.

        78.     As a result of Defendants’ unlawful conduct, Alibaba Group Holding has suffered

and is likely to continue to suffer damages, and Defendants have obtained profits and/or unjust

enrichment.

        79.     Unless Defendants are permanently enjoined from their unlawful conduct, Alibaba

Group Holding will continue to suffer irreparable injury for which it has no adequate remedy at

law.




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                                FOURTH CAUSE OF ACTION
                  Federal Trademark Dilution In Violation Of 15 U.S.C. § 1125(c)
                                    (Against All Defendants)

        80.     Alibaba Group Holding repeats and realleges each of the foregoing paragraphs as

if fully set forth herein.

        81.     Alibaba Group Holding owns the ALIBABA Marks.

        82.     The ALIBABA Marks are widely recognized by the general consuming public and

are famous and became famous before Defendants commenced their unlawful uses of the

ALIBABA Marks.

        83.     Defendants have used, are using, and have caused others to use the ALIBABA

Marks, and substantially similar marks, in commerce in connection with the advertising,

promotion, and sale of their products and services, without Alibaba Group Holding’s authorization.

        84.     Defendants' uses of the ALIBABA Marks, and substantially similar marks, are

likely to impair and damage the distinctiveness of the ALIBABA Marks by causing the public to

no longer associate the ALIBABA Marks exclusively with Alibaba. Defendants' uses are also

likely to tarnish the reputation of Alibaba and the goodwill it has developed in the Alibaba Marks.

        85.     Defendants’ unlawful conduct was and is knowing, deliberate, willful, and in bad

faith, and done with the intent to trade on the goodwill and reputation of Alibaba Group Holding

and the ALIBABA Marks, and to deceive consumers into believing that Alibaba is the source of

Defendants’ products and services, or that such products and services are endorsed by, sponsored

by, or otherwise associated or affiliated with Alibaba.

        86.     As a result of Defendants’ unlawful conduct, Alibaba Group Holding has suffered

and is likely to continue to suffer damages, and Defendants have obtained profits and/or unjust

enrichment.




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        87.     Unless Defendants are permanently enjoined from their wrongful conduct, Alibaba

Group Holding will continue to suffer irreparable injury for which it has no adequate remedy at

law.

                              FIFTH CAUSE OF ACTION
  Trademark Infringement, Unfair Competition, And False Designation Of Origin Under New
                                        York Law
                                 (Against All Defendants)

        88.     Alibaba Group Holding repeats and realleges each of the foregoing paragraphs as

if fully set forth herein.

        89.     Alibaba Group Holding owns common law rights in its trademarks (the "Common

Law Marks") through the extensive and continuous use of those marks in New York and other

States in the United States.

        90.     Defendants have had both actual and constructive knowledge of Alibaba Group

Holding’s superior rights in the Common Law Marks.

        91.     Defendants have used, are using, and have caused others to use the Common Law

Marks in connection with the advertising, promotion, and sale of their products and services

without Alibaba Group Holding’s authorization.

        92.     Through Defendants’ unauthorized use, Defendants unfairly appropriated or

exploited the special qualities associated with the Common Law Marks, resulting in the

misappropriation of a commercial advantage belonging to Alibaba Group Holding.

        93.     Defendants’ unauthorized use of the Common Law Marks has caused and is likely

to cause confusion, mistake, and deception as to their affiliation, connection, or association with,

or sponsorship or approval by, Alibaba, in violation of New York law.

        94.     Defendants’ unauthorized use of the Common Law Marks has caused and is likely

to cause confusion, mistake, and deception as to whether Alibaba is the source of Defendants’




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products and services, or whether such products and services are endorsed or sponsored by, or

otherwise associated or affiliated with, Alibaba, in violation of New York law.

        95.     As a result of Defendants’ unlawful conduct, Alibaba Group Holding has suffered

and is likely to continue to suffer damages, and Defendants have obtained profits and/or unjust

enrichment.

        96.     Unless Defendants are permanently enjoined from their wrongful conduct, Alibaba

Group Holding will continue to suffer irreparable injury for which it has no adequate remedy at

law.

                                  SIXTH CAUSE OF ACTION
                 False Advertising And Unfair Competition Under New York Law
                                    (Against All Defendants)

        97.     Alibaba Group Holding repeats and realleges each of the foregoing paragraphs as

if fully set forth herein.

        98.     Defendants are distributing, have distributed, and have caused others to distribute

materials that misrepresent that Defendants’ uses of the Common Law Marks are authorized,

licensed, or sponsored by Alibaba when in fact they are not.

        99.     Defendants’ false or misleading statements misrepresent the nature, characteristics,

and qualities of Defendants’ goods, services, or commercial activities and have deceived and are

likely to deceive the public and the trade in violation of New York law.

        100.    Defendants’ unlawful conduct was and is knowing, willful, deliberate, and in bad

faith because Defendants knew at the time the statements were made that they were false and made

the statements in order to increase the sales of their products and/or services, and the revenues

from their ICO(s).




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        101.    As a result of Defendants’ unlawful conduct, Alibaba Group Holding has suffered

and is likely to continue to suffer damages, and Defendants have obtained profits and/or unjust

enrichment.

        102.    Unless Defendants are permanently enjoined from their unlawful conduct, Alibaba

Group Holding will continue to suffer irreparable injury for which it has no adequate remedy at

law.

                              SEVENTH CAUSE OF ACTION
                  Trademark Dilution in Violation of N.Y. Gen. Bus. Law § 360-l
                                    (Against All Defendants)

        103.    Alibaba Group Holding repeats and realleges each of the foregoing paragraphs as

if fully set forth herein.

        104.    Alibaba Group Holding owns the ALIBABA Marks.

        105.    Defendants have used, are using, and have caused others to use the ALIBABA

Marks without Alibaba Group Holding’s authorization.

        106.    Defendants’ unauthorized uses of the ALIBABA Marks have impaired and

damaged and are likely to impair and damage the distinctiveness of the ALIBABA Marks by

causing the public to no longer associate the ALIBABA Marks exclusively with Alibaba Group

Holding. Defendants' uses are also likely to tarnish the reputation of Alibaba and the goodwill it

has developed in the Alibaba Marks.

        107.    Defendants’ unlawful conduct was and is knowing, deliberate, willful, and in bad

faith and done with the intent to trade on the goodwill and reputation of Alibaba Group Holding

and the ALIBABA Marks, to impair the distinctiveness of the ALIBABA Marks, and to deceive

consumers into believing that Alibaba is connected with Defendants’ products and services.




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       108.   As a result of Defendants’ unlawful conduct, Alibaba Group Holding has suffered

and is likely to continue to suffer damages, and Defendants have obtained profits and/or unjust

enrichment.

       109.   Unless Defendants are permanently enjoined from their wrongful conduct, Alibaba

Group Holding will continue to suffer irreparable injury for which it has no adequate remedy at

law.

                                   PRAYER FOR RELIEF

       WHEREFORE, Alibaba Group Holding prays for judgment and relief as follows:

          A. That this Court enter judgment in favor of Alibaba Group Holding and against

              Defendants, jointly and severally, on all counts alleged herein;

          B. That this Court issue a permanent injunction that:

                 i. Enjoins Defendants from using the ALIBABA Marks, alone or in

                     combination with any word(s), term(s), designation(s), marks(s), or

                     design(s), as well as any mark, image, or depiction that is confusingly

                     similar to or likely to impair the distinctiveness of the ALIBABA Marks

                     anywhere in the United States, including in connection with the provision

                     of products or services to internet users located in the United States, and

                     enjoins Defendants’ employees, owners, agents, officers, directors,

                     attorneys, representatives, affiliates, subsidiaries, successors, and assigns,

                     and all those in active concert or participation with them or having

                     knowledge of the causes of action from enabling or assisting Defendants in

                     such uses;




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      ii.   Enjoins Defendants from making false or misleading statements concerning

            the ALIBABA Marks in the sale, advertising, or promotion of Defendants’

            goods and services to any parties located in the United States, alone or in

            combination with any word(s), term(s), designation(s), marks(s), or

            design(s), as well as any mark, image, or depiction that is confusingly

            similar or likely to impair the ALIBABA Marks, and enjoins Defendants’

            employees, owners, agents, officers, directors, attorneys, representatives,

            affiliates, subsidiaries, successors, and assigns, and all those in active

            concert or participation with them or having knowledge of the causes of

            action from making or assisting Defendants in making such statements;

     iii.   Requires Defendants, their employees, owners, agents, officers, directors,

            attorneys, representatives, affiliates, subsidiaries, successors, and assigns,

            and all those in active concert or participation with them or having

            knowledge of the causes of action to engage in corrective advertising in a

            form pre-approved by Alibaba Group Holding and the Court to dispel the

            confusion caused by Defendants’ unlawful conduct; and

     iv.    Requires Defendants to file with the Court and serve on Alibaba Group

            Holding, within thirty (30) days after entry of such an injunction, a report

            in writing under oath setting forth in detail the manner in which Defendants

            have complied with such an injunction;

 C. That this Court grant monetary relief in the form of:




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          i.   Compensatory damages under 15 U.S.C. § 1117 and New York law for all

               injuries to Alibaba Group Holding caused by Defendants’ acts alleged

               herein;

         ii.   An accounting of Defendants’ profits derived by Defendants’ acts alleged

               herein under 15 U.S.C. § 1117 and New York law and said accounting

               trebled;

        iii.   Punitive damages under New York law;

        iv.    Enhanced or treble damages under 15 U.S.C. § 1117 and New York law;

         v.    Attorneys’ fees and costs under 15 U.S.C. § 1117 and New York law;

        vi.    Prejudgment and post-judgment interest; and

   D. That this Court permit the service of the Complaint, associated motion papers, and

       any Court order upon Defendants and their legal representatives by email and

       FedEx pursuant to Federal Rule of Civil Procedure 4(f)(3);

   E. That this Court grant such other and further relief as it deems just and proper.

                            JURY TRIAL DEMAND

Alibaba Group Holding respectfully demands a jury trial on all claims and issues so triable.




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DATED: New York, New York
        April 2, 2018
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